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                                                   14                              UNITED STATES DISTRICT COURT
                                                                                        DISTRICT OF NEVADA
                                                   15
                                                   16
                                                        KAREN DORIO, an individual, QUIANNA         Case No.: 3:20-cv-00482-LRH-WGC
                                                   17   HUNT, an individual
                                                                                                    STIPULATION TO EXTEND TIME FOR
                                                   18                                               DEFENDANTS TO RESPOND TO
                                                                                    Plaintiffs,     PLAINTIFF’S MOTION FOR
                                                   19                                               CONDITIONAL CERTIFICATION AND
                                                               v.                                   [PROPOSED]
                                                                                                    ORDER      ORDER THEREON
                                                                                                            THEREON
                                                   20
                                                                                                                   FIRST REQUEST
                                                   21   KAMY KESHMIRI, an individual; JAMY
                                                        KESHMIRI, an individual; FANTASY
                                                   22   GIRLS, LLC. A Nevada limited Liability
                                                        corporation, DOE MANAGERS 1-3; and
                                                   23   DOES 4-100, inclusive,
                                                   24
                                                                                   Defendants.
                                                   25
                                                   26          Pursuant to Local Rules (“LR”) IA 6-1, IA 6-2, and LR 7-1, DEFENDANTS FANTASY
                                                   27   GIRLS, LLC, KAMY KESHMIRI, JAMY KESHMIRI by and through their counsel, Thierman
                                                   28   Buck, LLP and Plaintiffs, KAREN DORIO AND QUIANNA HUNT, by and through their

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                                                          STIPULATION TO EXTEND TIME FOR DEFENDANTS TO RESPOND TO PLAINTIFF’S MOTION
                                                                                FOR CONDITIONAL CERTIFICATION
                                                        Case 3:20-cv-00482-LRH-WGC Document 18
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                                                    1   counsel, Kristensen, LLP hereby request that the Court grant the Parties’ request for an extension
                                                    2   of time for Defendants to file their response to Plaintiff’s Motion for Conditional Certification
                                                    3   (ECF No. 15). Defendants’ response is currently due on November 5, 2020, and the Defendants
                                                    4   request an eleven (11) day extension up to Monday, November 16, 2020. Therefore, Plaintiff
                                                    5   requests additional time to reply to Defendants’ response once filed. Plaintiffs’ response would
                                                    6
                                                        be due on November 23, 2020.
                                                    7
                                                               This is the Parties’ first request for an extension of time. This request is not intended for
                                                    8
                                                        delay and is made in good faith.
                                                    9
                                                        DATED: November 4, 2020
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                                                   11   Respectfully Submitted,
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                                                   14   /s/ Mark R. Thierman                                  /s/ John P. Kristensen_________________
                                                        Mark R. Thierman                                      John P. Kristensen (admitted Pro Hac Vice)
                                                   15   Attorneys for Defendants                              Attorney for Plaintiff
                                                   16
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                                                   18
                                                                                                    ORDER
                                                   19
                                                               IT IS SO ORDERED.
                                                   20
                                                   21
                                                               DATED this
                                                                     5th day of day of November
                                                                                November,  2020. 2020.
                                                   22
                                                   23
                                                   24                                         United
                                                                                              LARRY  States Magistrate Judge
                                                                                                       R. HICKS
                                                                                              UNITED STATES DISTRICT JUDGE
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                                                          STIPULATION TO EXTEND TIME FOR DEFENDANTS TO RESPOND TO PLAINTIFF’S MOTION
                                                                                FOR CONDITIONAL CERTIFICATION
